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 6
 7   Attorney for Plaintiff Russell Reeves

 8                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
 9
10                                            ) No.: 4:17-cv-275-BPV_
     Russell Reeves,
                                              )
11                   Plaintiff,               )
                                              ) NOTICE OF SETTLEMENT
12          vs.                               )
                                              )
13                                            )
     N.A.R., Inc.,                            )
14                                            )
                     Defendants.              )
15                                            )
                                              )
16
17
            Notice is hereby given that Plaintiff Russell Reeves and Defendant N.A.R.,
18
19
     Inc. have settled the matters between them. The parties anticipate completing

20   settlement documents and filing a dismissal with the Court within the next sixty (60)
21
     days. The parties request that the Court retain jurisdiction of this case during said
22
23   sixty (60) day period.
24
                                             Respectfully Submitted,
25
26
     DATED: October 19, 2017                 BALLON STOLL BADER & NADLER

27                                           By:   /s/Avraham Zvi Cutler
28                                                 Avraham Zvi Cutler, Esq.
     Case 4:17-cv-00275-DCB-BPV Document 16 Filed 10/19/17 Page 2 of 2




 1                                                   Attorneys for Plaintiff
                                                     Russell Reeves
 2
 3                                   Certificate of Service
 4         I hereby certify that on this date, I electronically filed this Notice of Voluntary
 5   Dismissal using the CM/ECF system which will automatically send email
 6   notification of such filing to all attorneys of record.
 7
 8                                                             /s/ Avraham Zvi Cutler
 9                                                             Avraham Zvi Cutler, Esq.
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